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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No.:      CV 20-01882 RAO                                      Date:   February 4, 2022
 Title:         James Shayler v. Ehab S. Yacoub, et al.



 Present:          The Honorable ROZELLA A. OLIVER, U.S. MAGISTRATE JUDGE

                Donnamarie Luengo                                      N/A
                  Deputy Clerk                                Court Reporter / Recorder

      Attorneys Present for Plaintiff(s):                 Attorneys Present for Defendant(s):

                       N/A                                               N/A

Proceedings:            (In Chambers) ORDER GRANTING IN PART PLAINTIFF’S
                        MOTION FOR SANCTIONS [32]

        On August 13, 2020, Plaintiff James Shayler filed a motion to compel discovery
responses to 61 requests for document production and 338 requests for admission, among other
things, and also requested the imposition of monetary sanctions on Defendants. Dkt. No. 32. On
September 15, 2020, Defendants filed a declaration, which the Court construed as their
opposition to the motion to compel. Dkt. No. 34.

         On December 23, 2020, the Court issued an order granting Plaintiff’s motion to compel
in full as to the document requests and in part as to the requests for admission. Dkt. 46. The
Court ordered Defendants to file a response to Plaintiff’s request for $3,217.50 in sanctions,
comprising six and a half hours of work at $495 per hour. Id.

        On January 6, 2021, Defendants filed an opposition to Plaintiff’s request for sanctions.
Dkt. No. 47. For the following reasons, Plaintiff’s request for sanctions is GRANTED in part
as set forth below.

       I.        ANALYSIS

          Under the Federal Rules, if a motion to compel is granted, “the court must, after giving
an opportunity to be heard, require the party or deponent whose conduct necessitated the motion
. . . to pay movant’s reasonable expenses incurred in making the motion, including attorney’s
fees.” Fed. R. Civ. P. 37(a)(5)(A). This rule applies to inadequate responses to requests for
admission. Fed. R. Civ. P. 36(a)(6). Likewise, monetary sanctions must be awarded for failure
to produce documents. Fed. R. Civ. P. 37(a)(3)(B)(iv), 37(a)(5)(A).



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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

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        Defendants argue that Plaintiff’s request for sanctions should be denied. They contend
that the Court found “several of Plaintiff’s [sic] defenses were meritorious[.]” Dkt. No. 47 at 2.
They point out, for example, that the Court did not order Defendants to respond to 338 requests
for admission but instead directed Plaintiff to select and re-serve on Defendants 100 of those
requests. See Dkt. No. 46 at 5. Additionally, they maintain that the sanctions sought “appear to
be punitive in nature and not reasonably related to the actual effort involved.” Id. at 3.

        The Court disagrees with Defendants’ characterization of the relief that was granted. In
fact, the Court expressly rejected Defendants’ “defenses,” finding that their objections were
unsupported and consisted only of boilerplate language that failed to assert any evidentiary
privilege.1 Nevertheless, the Court also found that Plaintiff had overreached in serving 338
requests for admission in this relatively straightforward case.

       Federal Rule of Civil Procedure 37(a)(5)(C) provides that, “[i]f the motion [to compel] is
granted in part and denied in part, the court may . . . after giving an opportunity to be heard,
apportion the reasonable expenses for the motion.” Under the circumstances set forth above, the
Court concludes that reasonable expenses should be awarded to Plaintiff in the amount of
$1,980, constituting four hours of work at counsel’s hourly rate of $495.2

        Defendants shall complete payment to Plaintiff’s counsel within 30 days of the date of
entry of this order.

         IT IS SO ORDERED.


                                                                                                :
                                                                Initials of Preparer   dl




1
  The Court further notes that Defendants did not comply with the Central District local rules
when they filed their response to Plaintiff’s motion to compel just three days before the noticed
hearing date.
2
  The rate requested by counsel is reasonable based on the Court’s knowledge of the prevailing
rates of similarly experienced attorneys in the Los Angeles area for the type of work performed
in this case.


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